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                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

IN RE:
                                                                           CASE NO. 18-42032
DANYETTA CHRILLA GAFFNEY                                                CHAPTER 13 BANKRUPTCY
DEBTOR                                                                  (“MAIN CASE” – PENDING)


DANYETTA CHRILLA GAFFNEY
PLAINTIFF
(“MS. GAFFNEY”)

vs.                                                                            ADV. NO.
                                                                        (CONTAINED IN FILEMARK)
IDAHO HOUSING AND FINANCE
ASSOCIATION
DEFENDANT
(“Defendant”)

                ORIGINAL COMPLAINT CONCERNING THE WILLFUL
            VIOLATION OF THE AUTOMATIC STAY AND RELATED RELIEF

____________________________________________________________________________________

                                                  Notice to Defendant

The detailed allegations stated herein are for the purpose of eliciting researched and precise responses
so as to limit the scope and cost of the litigation. As required by F. R. Civ. P. 8, as made applicable by F.
R. Bankr. P. 7008, each allegation requires a separate admission or denial regardless of whether the
allegation is of fact or of law. There should be no response such as the allegation is a statement of law or
the document speaks for itself. A reasonable inquiry is required as to any admission or denial. A matter
should not be denied on a lack of knowledge or belief unless a reasonable inquiry has first been made.
An absence of a reasonable inquiry is not a sufficient basis for denial. No substantive affirmative defense
should be asserted contrary to the bankruptcy provisions cited below. Further, no threshold or
substantive affirmative defense should be asserted absent a reasonable inquiry that meets the
requirements of F. R. Bankr. P. 9011 and F. R. Civ. P. 11, as supported by facts and law.

“When an institutional creditor responds to an obvious violation of the automatic stay or discharge
injunction against a consumer debtor by employing its superior resources to make frivolous responses
that tax the resources of that debtor, those responses should be viewed as nothing more than an abusive
continuation of the original improper conduct being complained of. It is the most appropriate occasion for
imposition of punitive damages.” ​In re Curtis,​ 322 B.R. 470,487 (Bankr. D. Mass.2005).
____________________________________________________________________________________




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TO:       BRENDA T. RHOADES
          UNITED STATES BANKRUPTCY JUDGE

          Ms. Gaffney owns her home which is commonly known as 2185 Sycamore

Street, Paris TX 75460 (“home”)1. Defendant is the assignee of the note and deed of

trust as to her home. Ms. Gaffney fell behind in payments on her home. To remedy the

problem, she filed her Chapter 13 bankruptcy. After filing the main case, and after

notice of that bankruptcy was sent to Defendant and Defendant’s attorneys, her home

was nonetheless posted for foreclosure which is set to take place on November 6, 2018.

In an attempt to mitigate, repeated notice of the filing of Ms. Gaffney’s main case was

emailed and mailed to Defendant and Defendant’s attorney. Ms. Gaffney has made

contact with Defendant’s counsel. Nonetheless, there has not be any formal withdrawal

of the foreclosure documents sent, or no writing that the foreclosure will not proceed. At

the time this adversary was filed, Defendant has not filed a proof of claim or any

document with the Bankruptcy Court that indicates it is in compliance with the automatic

stay of which it has notice. The mere withdrawal of the foreclosure at this point will not

result in the dismissal of this adversary proceeding as injury in fact has occurred,

resulting in compensatory damages that are legally occurring.

            JURISDICTION / VENUE / CORE PROCEEDING / CONSTITUTIONAL
                AUTHORITY TO ENTER FINAL ORDERS OR JUDGMENTS
           1.      T​his Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§

157(a) and 1334.




1
    ​Ms. Gaffney’s home is legally defined by a lengthy metes and bounds description.

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         2.      Venue is proper for this Court pursuant to 28 U.S.C. § 1409, and for the

reason that the main case of Ms. Gaffney was filed and is pending in this Bankruptcy

Court.

         3.      This adversary proceeding constitutes a core proceeding pursuant to 28

U.S.C. § 157.

         4.      The subject matter of this adversary proceeding involves the “public rights”

exception to the general rule that allows only an Article III judge to exercise adjudicative

authority. As such, this Bankruptcy Court has a right to issue a final judgment in this

case in accordance with the exceptions in​ Stern v. Marshall,​ 564 U.S. 462 (2011).

         5.      Ms. Gaffney consents to the entry of a final order or judgment by this

Court. ​Wellness Int’l Network LTD. v. Sharif​, 135 S. Ct. 1932, 1947 (May 26, 2015).

                                        FACTUAL BACKGROUND

         6.      On or about November 8, 2017 Ms. Gaffney purchased her home,

entering into a note and deed of trust2.

         7.      On September 10, 2018 a voluntary Chapter 13 bankruptcy petition was

uploaded on behalf of Ms. Gaffney in the main case pursuant to 11 U.S.C. § 301(a).
          3
(ECF 1) . This petition constituted an order for relief pursuant to 11 U.S.C. § 301(b).

Therein, the petition provided Ms. Gaffney’s name, current address, last four digits of



2
  ​In drafting the pleading, counsel relied on the Notice of Acceleration for the date of the note and deed of
trust.
 
3
  ​“(ECF ___)”, when used in this complaint is intended to represent the corresponding document on the
Docket Report as maintained by this Court on its ECF / PACER system in relation to the bankruptcy filed
by Ms. Gaffney, Case No. 18-42032. 

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her Social Security Number, chapter of bankruptcy filed, prior bankruptcies filed in the

last eight years, the district and division in which the main case was filed, as well as the

name and contact information of her bankruptcy attorney. This information should have

been sufficient to confirm the status of the main case and allow any creditor with notice

to identify the debtor and its related claim.

        8.     The commencement of the main case created a bankruptcy estate,

pursuant to 11 U.S.C. § 541, which included Ms. Gaffney’s home.

        9.     The initiation of the main case effectuated the automatic stay provisions of

11 U.S.C. § 362(a), for which there are no exceptions pursuant to 11 U.S.C. § 362(b) in

regards to Defendant’s conduct.

        10.    On September 10, 2018 a list of creditors was uploaded on behalf of Ms.

Gaffney in the main case pursuant to 11 U.S.C. § 521(a)(1)(A) and F. R. Bankr. P.

1007(a)(1). (ECF 1). Therein, Defendant was provided for at its address stated as P.

O. Box 7899, Boise ID 83707 (“matrix address”). Also, Defendant was provided for at

565 W. Myrtle, Boise ID 83702.                  (“preferred address”).            Further, Defendant’s legal

counsel, Bonial & Associates, P.C. was provided for at its address stated as 14841

Dallas Parkway, Suite 425, Dallas TX 75254 (“counsel’s address”).

        11.    On September 10, 2018 bankruptcy schedules and statement of financial

affairs were uploaded on behalf of Ms. Gaffney in the main case pursuant to 11 U.S.C.

§ 521(a)(1)(B) and F. R. Bankr. P. 1007(b). (ECF 1). Therein:

               a.       Official Form 106A/B – Property - Part 1 - No. 1.1. - disclosed Ms.

                        Gaffney’s home.



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               b.       Official Form 106C – The Property You Claim as Exempt – Part 1 -

                        No. 2 - disclosed that Ms. Gaffney claimed her home exempt

                        pursuant to 11 U.S.C. § 522(d)(1).

               c.       Official Form 106D – Creditors Who Have Claims Secured by

                        Property – Part 1 - No. 2.2 - disclosed Defendant in regard to Ms.

                        Gaffney’s home at the matrix address.

               d.       Official Form 106D – Creditors Who Have Claims Secured by

                        Property – Part 2 - No. 4 - disclosed and included Defendant, at the

                        preferred address.

               e.       Official Form 106D – Creditors Who Have Claims Secured by

                        Property – Part 2 - No. 3 - disclosed and included Defendant’s

                        attorney, and related same to Defendant’s claim, at its counsel’s

                        address.

               f.       Official Form 106I – Your Income – demonstrates that Ms. Gaffney

                        is financially vulnerable.

               g.       Official Form 106J – Your Expenses – demonstrates that Ms.

                        Gaffney has limited disposable income.

       12.     Defendant is a creditor in the main case pursuant to 11 U.S.C. § 101(10).

       13.     The debt or claim of Defendant in the main case is prepetition in nature

pursuant to 11 U.S.C. § 101(5). Further, the claim is secured.




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        14.     On September 10, 2018 a Certificate of Credit Counseling, with a

pre-petition date of September 6, 2018, was uploaded on behalf of Ms. Gaffney in the

main case pursuant to 11 U.S.C. § 521(b). (ECF 2).

        15.     On September 10, 2018 an original Chapter 13 Plan was uploaded on

behalf of Ms. Gaffney in the main case pursuant to 11 U.S.C. §§ 1321, 1322. (ECF 3).

Ms. Gaffney’s plan provides that Defendant’s claim will be cured through payments it

will receive from the Trustee and that Ms. Gaffney will be responsible to pay the

on-going maintenance payments as a direct payment obligation. Pursuant to the

certificate of service attached, Defendant was provided a copy by mail at the matrix

address, its preferred address and counsel’s address.

        16.     On September 13, 2018 Ms. Gaffney filed her Certificate of Debtor

Education.     (ECF 6).             The required financial education course was completed on

September 12, 2018.

        17.     On September 14, 2018 Official Form 309I – Notice of Chapter 13

Bankruptcy Case was uploaded in the main case pursuant to F. R. Bankr. P. 2002(a)(1).
                                4
According to the BNC certificate of service uploaded on September 16, 2018, the

Notice was provided to Defendant at the matrix address, preferred and counsel’s

address. (ECF 7). Therein, the Notice premonished Defendant:

      “The filing of the case imposed an automatic stay against most collection
      activities. This means that creditors generally may not take action to collect
      debts from the debtors, the debtors’ property, and certain codebtors. For
      example, while the stay is in effect, creditors cannot sue, garnish wages,
      assert a deficiency, repossess property, or otherwise try to collect from the
4
 ​The Bankruptcy Noticing Center (“BNC”), established by the Administrative Office of the U.S. Courts
(AOUSC), provides a centralized process for preparing, producing, and sending bankruptcy court notices
by mail or electronic transmission. http://ebn.uscourts.gov/

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      debtors. Creditors cannot demand repayment from debtors by mail, phone,
      or otherwise. Creditors who violate the stay can be required to pay actual
      and punitive damages and attorney’s fees.”

       18.     On September 17, 2018 note was left on Ms. Gaffney’s door requesting

that she contact Defendant.

       19.     On September 17, 2018 Ms. Gaffney contacted the phone number left on

her door and spoke with an employee of Defendant. She informed the man that she

had filed bankruptcy. Ms. Gaffney attempted to provide the man her bankruptcy case

number but he could not accept it, stating Defendant would await notice from their

attorney.

       20.     On September 25, 2018 Defendant contacted Ms. Gaffney by telephone in

attempt to collect its pre-petition claim. Defendant’s employee called to provide her with

the total amount she would have to pay this date in order to prevent foreclosure of her

home. Ms. Gaffney again informed Defendant that she had filed bankruptcy. She did

manage to provide this employee her bankruptcy case number during this call. The

employee stated she would write the number down.

       21.     Also on September 27, 2018 Defendant’s attorney filed the Notice of

Acceleration, the Notice of Trustee’s Sale and Affidavit of Posting with the Lamar

County Clerk.

       22.     On September 27, 2018 Defendant’s attorney drafted and mailed a letter

to Ms. Gaffney, which attached a Notice of Acceleration and a Notice of Trustee’s Sale

by both United States Postal Service certified mail and first class mail.                                 Although




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certified and first class letters where dated September 27, 2018, it does not appear they

were placed in the mail until October 8, 2018, some 11 days later.

       23.     Supposing that the mailing of the Notice of Acceleration and Notice of

Trustee’s Sale was mailed on the same date it was filed with the Lamar County Clerk

(and indications are that the actual mailing was much later), this occurred:

               a.       17 days after Ms. Gaffney’s Plan was mailed to Defendant at the

                        matrix address, preferred address, and Defendant’s attorney at the

                        counsel’s address.

               b.       11 days after the Notice of Chapter 13 Bankruptcy Case was

                        mailed to Defendant at both the matrix address and preferred

                        address, and mailed to Defendant’s attorney at counsel’s address.

               c.       10 days after the note by Defendant was left on Ms. Gaffney’s door

                        and she called Defendant and informed it of her bankruptcy filing.

               d.       2 days after Defendant called Ms. Gaffney to collect its pre-petition

                        claim directly, at which time she provided Defendant with her

                        bankruptcy case number.

       24.     On October 8, 2018 the United States Postal Service shows that the

notices of acceleration and foreclosures were first placed in certified mail by

Defendant’s counsel.

       25.     On October 9, 2018, the Meeting of Creditors was held in the main case

pursuant to 11 U.S.C. § 341. Ms. Gaffney attended the meeting. The meeting was

concluded.



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       26.     On October 9, 2018 the notice of the certified mail containing the

acceleration and foreclosure notices from Defendant’s counsel were left by the United

States Postal Service at Ms. Gaffney’s home.

       27.     On October 9, 2018 the acceleration and foreclosure notices arrived at

Ms. Gaffney’s home.

       28.     On October 9, 2018 Ms. Gaffney contacted Defendant’s counsel by

telephone. She advised the law firm that she had filed bankruptcy. This was after her

meeting of creditors the same day.

       29.     As of the date of the filing of this adversary proceeding, Ms. Gaffney has

not received any formal or written notification, or withdrawal, of the notices of

acceleration and foreclosure.             None appear to have been filed with Lamar County.

Neither Defendant nor its counsel has contacted Ms. Gaffney’s attorney to advise him of

their errors, if that is what these violations reflect. Further, Defendant has not filed a

proof of claim or any document with the Bankruptcy Court indicating it acknowledges

Ms. Gaffney’s bankruptcy.

       30.     The post-discharge income or earnings of Ms. Gaffney are not subject for

payment of any debt or claim.

       31.     As a result of the above-described conduct of Defendant, much frustration,

anxiety, mental anguish and distress that is more than fleeting and inconsequential has

resulted on the part of Ms. Gaffney. This has manifested itself with Ms. Gaffney in a

number of manners, including but not limited to violation of the core bankruptcy rights; a

fear of loss of her home, headaches; loss of sleep; anxiety; depression; shock of



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conscience; impaired enjoyment of life; a sense of dread; a sense of failure; a lack or

diminution of self-worth; a significant amount of stress; the feeling of harassment or

fright; panic; marked irritability; distraction; low self-esteem; being ticked off; and/or a

sense of embarrassment and discomfort that is greater than the general level of

embarrassment and discomfort felt in filing bankruptcy or for the inability to pay a debt

or bill.

                           WILLFUL VIOLATION OF THE AUTOMATIC STAY

            32.    The filing of the main case constitutes, and constituted, an order for relief

pursuant to 11 U.S.C. § 301(b). This includes the imposition of the automatic stay

(which is similar to an injunction issued by this Court) pursuant to 11 U.S.C. § 362(a).

The facts alleged demonstrate that the Defendant, and Defendant’s counsel, was

provided effective notice but has attempted to collect its debt in various ways.

Therefore, the actions or conduct of Defendant violated, or are violating, 11 U.S.C. §

362(a)(1), (3), (4), (5), and/or (6).

                ENFORCEMENT OF THE ORDER, INJUNCTIONS AND/OR RULES

            33.    Due to the conduct or action of Defendant, as described, it may become

necessary for this Court to take action to enforce the injunctions, orders, Bankruptcy

Code provisions and rules resulting from main case, including, but not limited to:

           a.      Finding Defendant in contempt for failing to abide by the orders,

                   injunctions, Bankruptcy Code provisions and rules pursuant to 11 U.S.C. §

                   105;




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      b.      Issuing any declaratory judgment to determine the threshold questions of

              law, facts, rights, claims, or debts of all parties to this adversary

              proceeding, the violations of Defendant, the jurisdiction of this Court

              and/or any actual controversy that may exist pursuant to 28 U.S.C. §

              2201; and/or

      c.      Issuing any further or more specific injunctions to better define or curtail

              the acts or conduct of Defendant in the future pursuant to 11 U.S.C. § 105.

                                 AWARD OF ACTUAL DAMAGES

       34.    An award of actual damages is required to cover the value of any loss

including, but not limited to, any out-of-pocket expenses or cost; personal time of Ms.

Gaffney in participating and cooperating in this adversary proceeding through trial and

any appeal; and, the manifestations suffered as described in the Factual Background

above which has resulted from the mental anguish of Ms. Gaffney.

       35.    As an award of actual damages, it was necessary to employ Charles

(Chuck) Newton and the lawyers of the law firm, Charles Newton and Associates, to

represent Ms. Gaffney in advising, preparing and participating in this adversary

proceeding. Further, J. Brian Allen, Ms. Gaffney’s bankruptcy attorney, has expended

time, fees, costs and expenses in regard to the specific matters as stated above, as well

as assisting Charles Newton & Associates in its duties in this regard.

                                AWARD OF PUNITIVE DAMAGES

       36.    An award of punitive damages is requested by Ms. Gaffney pursuant to

the United States Supreme Court standard for properly imposing same.                                            First,



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Defendant received fair notice of the possibility of an award of punitive damages.

Second, as evidenced by this bankruptcy, the financial vulnerability of Ms. Gaffney is

evident. Third, the harm or injury inflicted on Ms. Gaffney is more than economic in

nature. Fourth, if the conduct or actions of Defendant had been allowed to succeed, the

fresh start of Ms. Gaffney would have been further imperiled. Fifth, the injury in this

case is hard to detect and/or the monetary value of noneconomic harm is difficult to

determine. ​See, BMW of North America, Inc. v. Gore​, 517 U.S. 559 (1996).

                                          AWARD OF INTEREST

        37.    Any award of damages should contain an award of prejudgment interest.

        38.    Any judgment issued by this Court should allow for the accrual of interest

for any unpaid balance at the rate for federal judgments, as based on the average

prices of U.S. Government Securities per 28 U.S.C. § 1961.

       WHEREFORE, PREMISES CONSIDERED, it is the prayer of Ms. Gaffney that

the Court will:

        1.     Find that Defendant violated one or more of the automatic stay provisions

in the main case;

        2.     Find that the violation of the automatic stay by Defendant was or is willful

and/or intentional;

        3.     Enforce the orders, rules and injunctions of this Court or the Bankruptcy

Code or Rules as necessary, including, but not limited to, a finding of contempt on the

part of Defendant, the issuance of any declaratory judgment, and/or the issuance of any

injunction;



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        4.     Sanction or award against Defendant all actual damages for all financial

and non-financial harm or injury incurred by Ms. Gaffney;

        5.     Sanction or award against Defendant and to Ms. Gaffney, and for the

benefit of Chuck Newton, all of the attorneys’ fees, costs and expenses incurred with

Chuck Newton, and the law firm of Charles Newton & Associates, in representing Ms.

Gaffney in these matters;

        6.     Sanction or award against Defendant and to Ms. Gaffney, and for the

benefit of J. Brian Allen, all of the attorneys’ fees, costs and expenses incurred by the

law firm in representing Ms. Gaffney in the matters particular to this adversary

proceeding;

        7.     Sanction or award against Defendant and to Ms. Gaffney emotional

distress damages;

        8.     Sanction or award against Defendant and to Ms. Gaffney punitive

damages;

        9.     Award prejudgment interest;

        10.    Award post-judgment interest; and

        11.    Grant any and all other relief in equity or in law to which Ms. Gaffney may

be entitled.




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Respectfully submitted,

CHARLES NEWTON & ASSOCIATES
Attorneys for Ms. Gaffney
in the adversary proceeding




                                                                      JANE NEWTON
                                                                      jane@chucknewton.net
________________________________                                      Texas Bar No. 14977700
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Phone (281) 681-1170, Ext. 101                                        Phone (281) 681-1170, Ext. 103
Fax (281) 901-5631



                                       CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Complaint was served on
the following parties, not otherwise served by summons, via electronic means, if
possible, otherwise by the means stated below:
 
Danyetta Chrilla Gaffney                                       MAIL (No)
Debtor / Plaintiff                                             FAX (No)
2185 Sycamore Street                                           EMAIL (Yes)
Paris TX 75460

J. Brian Allen                                                 MAIL (No)
Bankruptcy Atty. for Ms. Gaffney                               FAX (No)
P. O. Box 1398                                                 EMAIL brian@jbrianallen.com
Sulphur Springs TX 75483

Carey D. Ebert                                                 MAIL (No)
Chapter 13 Trustee                                             FAX (No)
P. O. Box 941166                                               EMAIL ECFch13plano@ch13plano.com
Plano TX 75094

United States Trustee                                          MAIL (No)
110 North College Ave.                                         FAX (No)
Room 300                                                       EMAIL ustregion06.ty.ecf@usdoj.gov
Tyler TX 75702




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Hilary Bonial                                                 MAIL (No)
Bonial & Associates, P.C.                                     FAX (No)
Atty. for Defendant                                           EMAIL hilary.bonial@bonialpc.com
14841 Dallas Pkwy.
Suite 425
Dallas TX 75254

 
DATED: October 16, 2018




                                                       _______________________________
                                                       CHARLES (CHUCK) NEWTON
                                                           
 




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